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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )        No. 13 CR 772
                                               )
v.                                             )        Judge Bucklo
                                               )
JULIAN MARTIN,                                 )        Magistrate Judge Cole
                                               )
                       Defendant.              )


                       REPORT AND RECOMMENDATION
                REGARDING EVIDENCE OBTAINED FROM WIRETAPS

                                        INTRODUCTION

        Defendant, Julian Martin, has filed two motions to suppress. The first seeks to suppress

wiretap and derivative evidence obtained pursuant to wiretap orders enter on April 7, 2011, and April

29, 2011. The second focuses on guns found on him when he was arrested in connection with a

traffic stop for allegedly making a sudden lane change without signaling. Since it is conceded that

the wiretaps led directly to the police following Mr. Martin, hoping, as they admitted at the

evidentiary hearing, that he would violate the traffic laws so they could stop him, a finding in favor

of Mr. Martin on the first motion perforce requires granting the second motion. And so we begin

with the motion to suppress the wiretaps.

                                                   A.

         Mr. Martin argues that the communications intercepted by way of those wiretaps were

obtained in violation of 18 USC § 2518(10)(a)(1). He makes many of the same arguments already

addressed and rejected in the report and recommendation covering the same affidavit and wiretap

on Nathaniel Hoskins’s phone, and those arguments will not be revisited here. [See Dkt. 619]. But
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Mr. Martin also has a catalog of material information he claims was wrongfully omitted from the

affidavits, and he contends that the government failed to provide the “full and complete” statements

of facts required under 18 USC §§2510, et seq. Judge Bucklo has referred this motion to me for a

report and recommendation. See Peretz v. United States, 501 U.S. 923, 937 (1991)(district judge

may refer a motion to suppress evidence to a magistrate judge for a report and recommendation, and

thereafter, if the defendant requests it, the defendant is entitled to a de novo review by the district

court judge).

       As Mr. Martin argues, in order to obtain authorization for a wiretap, the government must

make “a full and complete statement as to whether or not other investigative procedures have been

tried and failed or why they reasonably appear to be unlikely to succeed if tried or to be too

dangerous.” 18 U.S.C. § 2518(1)(c); United States v. Durham, – F.3d –, –, 2014 WL 4362838, 5 (7th

Cir. 2014); United States v. Long, 639 F.3d 293, 301 (7th Cir. 2011). Still, the government's burden

“is not great,” and compliance with the statutory requirement must be evaluated in a “practical and

common-sense fashion.” Durham, – F.3d –, –, 2014 WL 4362838, 5; United States v. Campos, 541

F.3d 735, 746 (7th Cir. 2008). The statute does not require the government to show “absolute”

necessity, Durham, – F.3d –, –, 2014 WL 4362838, 5; Campos, 541 F.3d at 746, or that wiretaps

be used only as a last resort. United States v. Long, 639 F.3d 293, 301 (7th Cir. 2011); United States

v. McLee, 436 F.3d 751, 762–63 (7th Cir.2006). The point is to ensure that wiretaps are not used

routinely as the first step in an investigation. Durham, – F.3d at –, 2014 WL 4362838, 5. As already

determined in connection with Nathaniel Hoskins’s motion to suppress, that much is more than clear

from the government’s affidavits in this case.




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        Here, the concern is with claimed omissions from the affidavits. The affidavit in question

is a massive, detailed account of the investigation at the time, covering nearly 100 pages. It includes

none of the familiar and immaterial boilerplate that is often seen in cases like this. Still, intentional

or reckless omission of facts may be fatal to a wiretap application. See United States v. Glover, 755

F.3d 811, 820 (7th Cir. 2014)(defendant must show material falsity or omission and deliberate or

reckless disregard for the truth to obtain Franks hearing); United States v. Daoud, 755 F.3d 479, 486

(7th Cir. 2014)(“The Franks framework applies to misleading omissions in the warrant affidavit (so

long as they were deliberately or recklessly made) as well as to false statements.”); Heffernan v. City

of Chicago, 2012 WL 642536, 2 (N.D.Ill. 2012). Because officers must always make decisions

about what to include in and omit from a warrant application, a Franks violation based on an

omission requires a showing that the material information was omitted deliberately or recklessly to

mislead the issuing magistrate. United States v. Williams, 718 F.3d 644, 650 (7th Cir. 2013).

        In many instances, Mr. Martin has simply failed to meet his initial burden of demonstrating

that an omission was material. In many others, the motion is based on in imprecise reading of the

affidavit that is contrary to or unsupported by the facts. At bottom, Mr. Martin demands a

hypertechnical assessment of the affidavit, which is something the courts do not allow. See United

States v. Harris, 403 U.S. 573, 579 (1971)(“. . . policeman's affidavit ‘should not be judged as an

entry in an essay contest,’ . . . but, rather, must be judged by the facts it contains.”); United States

v. Hicks, 650 F.3d 1058, 1065-66 (7th Cir. 2011)(“. . . reviewing courts will not invalidate warrants

‘by hypertechnical rather than commonsense interpretation’ of detailed affidavits found sufficient

for probable cause . . . .”).




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Omissions Regarding CW1

1. CW1's statement in January 2011 that he could arrange the purchase of narcotics for delivery to

Chicago via Amtrak.

        Mr. Martin is not entirely clear as to why this constitutes a material omission, but apparently,

his position is that CW1 was all the government needed in the way of investigatory techniques

making a wiretap unnecessary. As Mr. Martin concedes, however, the affidavit did reveal CW1's

high-ranking position in the gang. [Dkt. #587, at 8-9]. His ability to arrange a drug purchase would

add nothing to that. Also, CW1 was incarcerated during the time of the wiretap recordings. The

government’s affidavit, as noted in the earlier report and recommendation, explained why CW1's

release for a controlled buy – if that is what Mr. Martin is insinuating – was not feasible. (Hoskins

R&R, at 4).1 Moreover, a controlled buy would really not go very far in revealing the structure of the

gang or furthering what the investigation had already uncovered.

2. CW1's statement that Goins was taking care of IIVL business while Hoskins was away.

        Mr. Martin argues that this fact contradicts the affidavit’s assertion that Mr. Martin was

running the day-to-day operations of the gang while Hoskins was away. But there is no omission




        1
          Mr. Martin argues that the government ought to have released CW1 on his word that he would not
commit any violent acts once he was back on the street. That’s far to much of a leap of faith to ask and,
moreover, if CW1 was suddenly “sheepish,” common sense and human experience, which always have a role
to play, Common sense and human experience—which always have a role to play, United States v. Montoya
De Hernandez, 473 U.S. 531, 542 (1985); Nix v. Williams, 467 U.S. 431, 444 (1984); Greenstone v.
Cambex Corp., 975 F.2d 22, 26 (1st Cir.1992) (Breyer, C.J.); Cooney v. Rossiter, 583 F.3d 967, 971 (7th
Cir.2009); Posner, How Judges Think at 116 (Harv. Univ. Press 2008), especially in Fourth Amendment
cases, teaches that that hesitancy would surely arouse suspicion among the gang members. And that suspicion
could have had fatal consequences. Again, the cases are uniform in requiring that courts take a
commonsensical, as opposed to a fanciful and unrealistic view of the supporting affidavit.

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here. The statement about Goins is set forth at paragraph 60 of the affidavit.2 And, actually, CW1

did not say Goins was in charge all the time Hoskins was away, simply that he was “taking care of

the business right now.”

3. CW1's statements about gang members who would be responsible for keeping heroin supplied to

the open air drug market at Thomas and Keystone.

       This is another instance of Mr. Martin failing to actually read the affidavit before filing what

is looking – more and more – like a knee-jerk motion, and a borderline frivolous one at that. CW1's

assertions regarding suppliers to the Thomas and Keystone drug market are set forth at paragraphs

14(c), 14(g), and 14(m).

4. CW1's statement that his release on bond could help stabilize internal conflicts.

       It’s unclear from Mr. Martin’s brief why this statement is material. Moreover, the affidavit

indicated why CW1 would not be released on bond, as noted in the report and recommendation on

Hoskins’s motion to suppress.

5. The location of a “safe house” on Washington Blvd. Between Leclaire and Lavergne.

       It is, once again, unclear from Mr. Martin’s motion why this might be a material omission.

The affidavit does address another such house right in that vicinity – perhaps the one Mr. Martin’s

brief refers to (although by the wrong address) on Washington Blvd. at Lotus, just a few blocks

away. (Affidavit, ¶ 92(b)). Moreover, the affidavit explains that CW1's safe house information –

locations where the gang “historically” stored narcotics – was not current enough for a search

warrant. (Affidavit, ¶ 94). If Mr. Martin is arguing that investigatory efforts short of a wiretap had

given the authorities all the information they needed, that argument is not persuasive.


       2
           The government’s citation to the affidavit is incorrect. [Dkt. # 638, at 12].

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         How much evidence is enough? That is a question answerable only in the repose of informed

hindsight, and therefore it is not one the law requires officers to answer on the spot. “[U]sing a

wiretap to obtain additional incriminating evidence against a defendant is not problematic.”

Campos, 541 F.3d at 748; United States v. Fudge, 325 F.3d 910, 919 (7th Cir. 2003); United States

v. Adams, 125 F.3d 586 (7th Cir. 1997). The burden of proving guilt beyond a reasonable doubt is

high. Campos, 541 F.3d at 748, The statute does not mandate that the government gamble as to how

much evidence will be enough to prosecute. The government is entitled to go beyond a few names

and roles and “identify the full extent of this organization and its operatives.” Id.

6. CW1's information regarding Faulkner’s money laundering and copper theft and sales.

         Mr. Martin fails to suggest how this information is material to the determination of whether

to issue a wiretap order, specifically how it might have led the judge to believe that a wiretap was

not necessary.

Omission Regarding CW1

         Mr. Martin complains that the affidavit failed to indicate that CW2 stated that he “would be

able” to purchase a quantity – 2 and a quarter ounces – of cocaine from Mr. Martin. The insinuation

is that undercover buys ought to have been undertaken in lieu of a wiretap. But the law does not

require that any other investigative procedures be tried first before an order is issued for the

interception of wire communications or that a wiretap be used as a last resort. United States v.

Campos, 541 F.3d 735, 746 (7th Cir. 2008). In this instance, the affidavit reveals why the controlled

buy would be a difficult undertaking, if possible at all: CW2 was incarcerated at the time. (Affidavit,

¶ 84).




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Omission Regarding Victim A

       Next, Mr. Martin argues that there is no mention of the government’s second interview with

Victim A or the information garnered from it. Mr. Martin points out that Victim A discussed the

gang’s criminal activities near Division and Pulaski, the individual in charge of the Four Corner

Hustlers – another gang, the individual supplying drugs to that gang, and the date of a party to be

attended by numerous gang members. Victim A also told investigators that Mr. Martin was selling

marijuana at Division and Pulaski.

       The affidavit reveals that Victim A was arrested, waived his Miranda rights, and was

interviewed in February 2011. (Affidavit, ¶ 20). It set out Victim A’s story about his drug selling

at Division and Pulaski and his dealings with Mr. Martin. He said he could arrange to buy cocaine

from Mr. Martin. (Affidavit, ¶ 21). As he was incarcerated at the time, Victim A’s utility to the

investigation was limited for the same reasons as CW1's and CW2's was. As it is with most of his

motion, Mr. Martin is unclear why the information supposedly gleaned from a second interview

regarding the Four Corner Hustlers would have alerted the issuing judge that a wiretap was

unnecessary. The insinuation seems to be that the police were supposed to continue to mine Victim

A for information thereby obviating the need for any more intrusive investigatory technique. While

the necessity requirement is designed to discourage the use of wiretaps as a first-line investigative

tool, it “was not intended to ensure that wiretaps are used only as a last resort in an investigation.”

United States v. Long, 639 F.3d 293, 301 (7th Cir. 2011). Again, an unamplified gripe about tidbits

of information left out here or there does not meet Mr. Martin’s burden to show an intentional or

reckless omission of material information.




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Omissions Regarding Confidential Sources

       Mr. Martin contends that the affidavit left out information provided by a confidential

informant about drug sales at Thomas and Keystone, violent crimes, and a November 2010 shooting.

Mr. Martin contends that such information, if included, would have shown the effectiveness of

investigatory techniques aside from wiretaps. But again, the government is not required to gamble

on how much evidence might be required to secure a conviction. Campos, 541 F.3d at 748; Fudge,

325 F.3d at 919. Moreover, the affidavit revealed this confidential informant – albeit in a footnote

– and indicated that police were “unable to corroborate some of the information provided” and

“determined that [the informant] learned some of the information second hand.” Thereafter, the

authorities were unable to locate the informant and assumed he was no longer interested in

cooperating.

Omission of Information Regarding Police Surveillance Camera

       Mr. Martin’s next problem with the affidavit is that it omitted some information gleaned from

a police camera in the area of Thomas and Keystone. The affidavit revealed the use of the camera

and the fact that it picked up activity by at least two high-ranking gang members. (Affidavit, ¶¶ 25,

56, 57, 104). The salespeople at the drug market were aware of the cameras and endeavored to avoid

them, rendering them of limited utility. (Affidavit, ¶ 25).

Exculpatory Calls

       Finally, Mr. Martin argues that the affidavit failed to set forth intercepted calls in which he

is asked by Hoskins to arrange his flight to Chicago from Las Vegas. Mr. Martin claims it took him

two weeks to do so because he was broke. Intercepted calls had him telling Hoskins he wasn’t doing

any “hustling.” Mr. Martin claims that, had these calls been included in the affidavit, the judge


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would have determined that would have been unnecessary to tap Mr. Martin’s phone because he was

not involved in drug trafficking.

        As the government’s brief points out, Mr. Martin had every incentive to be overly modest

about his activities in these few calls with Hoskins, because Hoskins wanted him to foot the bill for

an airplane ticket. Also, these were just a sample of Mr. Martin’s phone conversations, with others

making it clear that he occupied a leadership position in the gang. And finally, the summaries of

these calls were made available to the issuing judge in the reports filed in the wake of the wiretap

order on Target Phone 1.

                                           CONCLUSION

        It is recommended that the defendant’s motion to suppress wiretap evidence [Dkt. # 587] be

DENIED.



                                                Respectfully submitted,




                                ENTERED:
                                              UNITED STATES MAGISTRATE JUDGE

DATE: 10/8/14


Specific, written objections to the Report and Recommendation must be filed with the Clerk of the
District Court for the Northern District of Illinois, 219 S. Dearborn, 20th Floor, Chicago, IL 60604,
within fourteen (14) days of being served with a copy of the Report and Recommendation. Failure
to file specific, written objections within the specified time waives the right to appeal this Report and
Recommendation. See Fed.R.Civ.P. 72(b)(2); 28 U.S.C. 636(b)(1)(C); United States v. Brown, 79
F.3d 1499, 1504, n. 4 (7th Cir. 1996); Lorentzen v. Anderson Pest Control, 64 F.3d 327, 329 (7th
Cir.1995); Video View, Inc. v. Studio 21 Ltd., 797 F.2d 538, 539 (7th Cir. 1986).


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